          Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 1 of 7



 1
                                                  THE HONORABLE RICARDO S. MARTINEZ
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9
     JAMES GINZKEY, RICHARD                           Case No.: 2:18-cv-1773-RSM
10   FITZGERALD, CHARLES CERF, BARRY
     DONNER, and on behalf of the class               ORDER GRANTING PLAINTIFFS’
11   members described below,                         UNOPPOSED MOTION FOR
                                                      PRELIMINARY APPROVAL OF CLASS
12                            Plaintiffs,             ACTION SETTLEMENT AND REQUEST
13                                                    FOR FAIRNESS HEARING
                    v.
14
     NATIONAL SECURITIES
15   CORPORATION, a Washington Corporation
16                            Defendant.
17

18          Before the Court is the Plaintiffs’ Unopposed Motion for Preliminary Approval of Class

19   Action Settlement and Request for Fairness Hearing (the “Unopposed Motion”). The Court has
20
     considered the Unopposed Motion, together with its supporting declarations and exhibits. This
21
     Court has reviewed the Parties’ Settlement Agreement (“Agreement”), as well as the files,
22
     records, and proceedings to date in this matter. For purposes of this Order, capitalized terms
23
     used below shall have the meaning ascribed to them in the Unopposed Motion, unless otherwise
24

25   defined.

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27

28
      ORDER GRANTINGPLAINTIFFS’ UNOPPOSED MOTION FOR                         STOLTMANN LAW OFFICES, P.C.
                                                                               161 North Clark St., 16th Floor
      PRELIMINARY APPROVAL                                                        Chicago, Illinois 60601
      Case No. 2:18-cv-1773                                                            312-332-4200
          Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 2 of 7



 1
            Based on this Court’s review of the Agreement and all of the files, records, and
 2
     proceedings herein, the Court concludes, upon preliminary examination, that the Agreement
 3
     and Settlement appear fair, reasonable, and adequate, and within the range of reasonableness
 4
     for preliminary settlement approval, and that a hearing should and will be held after notice to
 5

 6   the Class to confirm that the Agreement and Settlement are fair, reasonable, and adequate and

 7   to determine whether the Settlement should be approved and final judgment entered in this
 8   action based upon the Agreement.
 9
            IT IS HEREBY ORDERED THAT:
10
            A.      Preliminary Approval of Proposed Settlement.
11
            The Agreement is preliminarily approved as fair, reasonable, and adequate and within
12

13   the range of reasonableness for preliminary settlement approval. The Court finds that: (a) the

14   Agreement resulted from extensive arm’s length negotiations; and (b) the Agreement is

15   sufficient to warrant notice of the Settlement to persons in the Class and a full hearing on the
16   approval of the Settlement.
17
            B.      Settlement Hearing.
18
            A final approval hearing (the “Settlement Hearing”) shall be held before the Honorable
19
     Ricardo S. Martinez on November 3, 2022 at 9:00 a.m. as set forth in the Notice to the Class,
20

21   to determine whether the Agreement is fair, reasonable, and adequate and should be approved.

22   Papers in support of final approval of the Agreement, the incentive award to Plaintiffs, and

23   Class Counsel’s application for an award of attorneys’ fees, costs and expenses (the “Fee
24
     Application”) shall be filed with the Court according to the schedule set forth in Paragraph K
25
     below. The Final Settlement Approval Hearing, and all dates provided for herein, may, without
26
     further notice to the Class, be continued or adjourned by order of this Court. After the
27
                                                 2
28                                                                             STOLTMANN LAW OFFICES, P.C.
      ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
                                                                                 161 North Clark St., 16th Floor
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          Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 3 of 7



 1
     Settlement Hearing, the Court may enter a settlement order and final judgment in accordance
 2
     with the Agreement that will adjudicate the rights of the Class Members with respect to the
 3
     Released Claims being settled.
 4
            C.      Class Notice.
 5

 6          Class Notice shall be sent within thirty (30) days following entry of this Order.

 7   American Legal Claim Services, LLC is appointed as Claims Administrator.
 8          D.      Mail Notice.
 9
            The Claims Administrator will provide mail postcard notice as set forth in Exhibit 1 of
10
     Exhibit B to the Unopposed Motion to persons in the Class for whom the Defendant possesses
11
     mailing addresses. Mail Notice will be sent via first-class mail to the most recent mailing
12

13   address as reflected in reasonably available records of the Defendant. Skip tracing shall be

14   performed by the Claims Administrator for all returned mail.

15          E.      Findings Concerning Class Notice.
16          The Court finds that the foregoing program of Class Notice and the manner of its
17
     dissemination is the best practicable notice under the circumstances and is reasonably calculated
18
     to apprise the Class of the pendency of this action and their right to object to the Settlement.
19
     The Court further finds that the Class Notice program is reasonable, that it constitutes due,
20

21   adequate, and sufficient notice to all persons entitled to receive notice and that it meets the

22   requirements of due process and FRCP 23. The Court hereby approves notices substantially in

23   the same form as Exhibits 1 and 2 to Exhibit B the Unopposed Motion.
24
            F.      Administration.
25
            The Court confirms that it is appropriate for the Defendant to provide the information
26

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                                                    3
28                                                                             STOLTMANN LAW OFFICES, P.C.
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          Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 4 of 7



 1
     necessary to provide the notice contemplated herein and to administer the settlement, including
 2
     names, addresses, and personal identifying information.
 3
            G.      Objections and Appearances.
 4
            Any person in the Class who has not timely submitted a valid request for exclusion from
 5

 6   the Class, and thus is a Class Member, may object to the proposed Settlement and appear at the

 7   Final Approval Hearing to argue that the proposed settlement should not be approved and/or to
 8   oppose the application of Class Counsel for an award of attorneys’ fees and the incentive award
 9
     to the named Plaintiffs.
10
            1. In order to object to the Settlement, a Class member must make any objection in
11
                 writing and file it with the Court and serve on all Parties not later than sixty (60)
12

13               days after the Notice Mailing Date. The objection must include the person’s name,

14               address, telephone number, and signature, and must set forth, in clear and concise

15               terms, the legal and factual arguments supporting the objection. Any objections that
16               are not timely filed and mailed shall be forever barred.
17
            2. In order to speak at the hearing, a Class member also must file with the Court and
18
                 serve on all Parties a Notice of Intention to Appear at the Fairness Hearing with the
19
                 Court no later than sixty (60) days after the Notice Mailing Date. The Notice must
20

21               include the person’s name, address, telephone number, and signature.

22          H.      Further Papers in Support of Settlement And Fee Application.

23          Class Counsel’s Motion for Attorneys’ Fees and the Motion for Final Approval shall
24
     be filed within ten (10) days of the Objection Deadline as provided in Paragraph K.
25
            I.      Effect of Failure to Approve the Agreement.
26
            In the event the Agreement is not approved by the Court, or for any reason the Parties
27
                                                   4
28                                                                             STOLTMANN LAW OFFICES, P.C.
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                                                                                 161 North Clark St., 16th Floor
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      Case No. 2:18-cv-1773                                                              312-332-4200
           Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 5 of 7



 1
     fail to obtain a Final Judgment as contemplated in the Agreement, or the Agreement is
 2
     terminated pursuant to its terms for any reason, then the following shall apply:
 3
            1. All orders and findings entered in connection with the Agreement shall become null
 4
                 and void and have no further force and effect, shall not be used or referred to for any
 5

 6               purposes whatsoever, and shall not be admissible or discoverable in any other

 7               proceeding;
 8          2. The Agreement and its existence shall be inadmissible to establish any fact or any
 9
                 alleged liability of the Defendant for the matters alleged in this action or for any
10
                 other purpose; and
11
            3. Nothing contained in this Order is, or may be construed as, any admission or
12

13               concession by or against the Defendant or Plaintiffs on any point of fact or law.

14          J.      Stay/Bar of Other Proceedings.

15          All proceedings in this action are stayed until further order of the Court, except as may
16   be necessary to implement the terms of the Settlement. Pending final determination of
17
     whether the Settlement should be approved, Plaintiffs, all persons in the Class and
18
     persons purporting to act on their behalf are enjoined from commencing or prosecuting (either
19
     directly, representatively, or in any other capacity) against any of the Released Parties any
20

21   action, arbitration, or proceeding in any court, arbitration forum, or tribunal asserting any of the

22   Released Claims as defined in the Agreement.

23   ///
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                                                      5
28                                                                                STOLTMANN LAW OFFICES, P.C.
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          Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 6 of 7



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 2
            K.     Timeline
 3
                                  ACTION                                        DATE
 4

 5          Preliminary Approval Order Entered            At the Court’s Discretion

 6          Notice Mailing Date                           Within 30 days following entry of the

 7                                                        Preliminary Approval Order
 8
            Objection Deadline                            60 days after Notice Mailing Date
 9
            Plaintiffs’ Counsel Fee Motion Submitted      10 days after Objection Deadline
10
            Final Approval Hearing/Noting Date            No earlier than 120 days after entry of the
11

12                                                        Preliminary Approval Order

13          Final Approval Order Entered                  At the Court’s Discretion

14
            The Final Hearing is scheduled on November 3, 2022 at 9:00 a.m. in Courtroom 13206
15

16   at the United States Courthouse, 700 Stewart Street, Seattle, WA 98101.

17   IT IS SO ORDERED

18          DATED this 7th day of June, 2022.
19

20

21                                               A
                                                 RICARDO S. MARTINEZ
22                                               CHIEF UNITED STATES DISTRICT JUDGE
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                                                  6
28                                                                             STOLTMANN LAW OFFICES, P.C.
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           Case 2:18-cv-01773-RSM Document 125 Filed 06/07/22 Page 7 of 7



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                                            7
28                                                             STOLTMANN LAW OFFICES, P.C.
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